Case 2:24-cr-00145 Document 24 Filed 09/04/24 Page 1 of 29 PagelD #: 206

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SEP ~ 4 2024
UNITED STATES DISTRICT COURT FOR THE

SOUTHERN DISTRICT OF WEST VIRGINIA ee cee
Cc ESTON G Y 2024 Southern District of West Virginia

SEPTEMBER 4, 2024 SESSION

UNITED STATES OF AMERICA

v. CRIMINAL NO. 2 AY-Ce- Qol¢s
18 U.S.C. § 1343
18 U.S.C. § 1957
18 U.S.C. § 1512 (b) (2)
18 U.S.C. § 2

THEODORE MILLER

INDICTMENT

The Grand Jury Charges:

At all times material to this Indictment:

Introduction

1. Defendant THEODORE MILLER was a Charleston-area
businessman who portrayed himself on social media as a wealthy and
successful real estate mogul with enough disposable income to
travel the world at his leisure. In reality, defendant THEODORE
MILLER had poor credit and thin month-to-month financial margins,
was delinquent on property taxes and bills, and had defaulted on
loans. Nevertheless, defendant THEODORE MILLER was determined to

maintain a carefully curated image of success.
Case 2:24-cr-00145 Document 24 _ Filed 09/04/24 Page 2 of 29 PagelD #: 207

2. Beginning as early as October 2021, defendant THEODORE
MILLER, aided and abetted by individuals both known and unknown to
the Grand Jury, conceived and perpetrated two fraudulent schemes
to bolster his businesses’ monthly cash flow and to pay unrelated
personal and professional debts, obligations, and expenses:

a. The Direct Investment Scheme: A scheme to defraud
investors by inducing them to invest in specific real
estate projects, “direct investments,” located on Bigley
Avenue in Charleston, Kanawha County, West Virginia,
through material misrepresentations, false promises, and
omissions about, inter alia, the validity of the
investors’ security interest, the safety of the
investment, defendant THEODORE MILLER’s financial
status, and the purpose for which the funds would be
used; and then by misappropriating the funds’ for
unrelated personal and business expenses.

b, The Bear Lute Scheme: A scheme to defraud investors by
inducing them to invest in a pooled real estate
investment vehicle, “Bear Lute,” through material
misrepresentations, false promises, and omissions about,
inter alia, the prior performance of Bear Lute, the
validity of the investors’ security interest, the safety
of the investment, defendant THEODORE MILLER’s financial
status, the timeline for return of funds, and the purpose
for which the funds would be used; and then by
misappropriating the funds for unrelated
personal and business expenses.

Defendant and Relevant Entities and Properties

3. Defendant THEODORE MILLER was a United States citizen
and a permanent resident of South Charleston, Kanawha County, West
Virginia, within the Southern District of West Virginia. Defendant

THEODORE MILLER remained outside the United States from on or about
Case 2:24-cr-00145 Document 24 _ Filed 09/04/24 Page 3 of 29 PagelD #: 208

February 12, 2022, to on or about August 8, 2024.

4. Defendant THEODORE MILLER owned and operated several
businesses registered in the State of West Virginia including, but
not limited to, Bear Industries LLC, a real estate investment
company, and T&C Construction LLC, a construction company.

5. Bear Industries LLC was a single-member limited
liability company registered in the State of West Virginia. Its
sole member was defendant THEODORE MILLER. Its business addresses
were located in Charleston, Kanawha County, West Virginia, and
Saint Albans, Kanawha County, West Virginia, within the Southern
District of West Virginia.

6. D.D. resided in Charleston, Kanawha County, West
Virginia, and South Charleston, Kanawha County, West Virginia,
within the Southern District of West Virginia. D.D. was an active
participant in defendant THEODORE MILLER’s businesses. In
particular, she held herself out as the Vice President of Bear
Industries LLC. D.D. regularly managed finances, signed documents,
facilitated business deals and transactions, and handled business
communications. D.D. acted as defendant THEODORE MILLER’s agent
while he remained outside of the United States.

7. Fifth Third Bankcorp (“Fifth Third”) was an FDIC-insured

bank with branches throughout the Southern District of West
Case 2:24-cr-00145 Document 24 Filed 09/04/24 Page 4 of 29 PagelD #: 209

Virginia, including Charleston, Kanawha County, West Virginia.
Fifth Third was a financial institution as defined by
18 U.S.C. § 20 and was a financial institution which engaged in,
and the activities of which, affected interstate commerce, as
defined in 31 U.S.C. § 5312(a) (2).

8. Paypal, Inc. (“Paypal”) was an online payment system
company headquartered in San Jose, California. Its servers were
located in Utah, Arizona, and Nevada. Users could link their bank
accounts and transfer money to another user using wire
communications through the internet that passed through one of
PayPal’s servers.

9. The properties located at 915, 917, 1007, 1015, 1019,
and 1021 Bigley Avenue were within Charleston, Kanawha County,
West Virginia.

The Direct Investment Scheme

10. Paragraphs 1 through 9 are incorporated by reference
herein.

li. From at least June 3, 2022, through at least September
8, 2022, at or near Charleston, Kanawha County, West Virginia,
within the Southern District of West Virginia, and elsewhere,
defendant THEODORE MILLER, aided and abetted by individuals both

known and unknown to the Grand Jury, knowingly participated in a
Case 2:24-cr-00145 Document 24 Filed 09/04/24 Page 5 of 29 PagelD #: 210

scheme to defraud real estate project investors, in violation of
18 U.S.C. § 1343.

12. The purpose of the scheme was for defendant THEODORE
MILLER to enrich himself by obtaining cash investments for specific
real estate projects located on Bigley Avenue in Charleston,
Kanawha County, West Virginia, on false information and promises,
material misrepresentations, and omissions.

Manner and Means of the Direct Investment Scheme

13. It was part of the scheme to defraud that defendant

THEODORE MILLER would and did:

a. Misrepresent himself on social media as a wealthy and
successful real estate investor to gain the trust of
potential investors;

b. Target victims by advertising direct investments on his
social media platforms;

c. Create and share promotional materials for direct
investments that contained false information;

d. Mislead investors about his ownership interest in the
property subject to and surrounding the direct
investment;

e. Mislead investors about the security of their
investments, by agreeing to secure the investors’
interest with property he did not, in fact, own;

f. Falsely promise to use the entirety of investor funds
toward the specific projects, in specific ways;

g. Fail to disclose material information, such as his true
personal financial standing and credit;
Case 2:24-cr-00145 Document 24 Filed 09/04/24 Page 6 of 29 PagelD #: 211

h. Falsely state to investors that the projects were
progressing or were completed;

i. Use investor funds for personal benefit and to pay for
unrelated real estate projects;

J. Fail to complete the projects;
k. Fail to repay investors as required; and

1. Refuse to communicate with investors after demands for
information and payment.

14. In furtherance of the fraud, defendant THEODORE MILLER
carried out the scheme in the following manner:

The Dry-Storage Lot Project: Victims C.T. & J.C.

15. In the spring of 2022, defendant THEODORE MILLER began
soliciting investments for a project to construct a dry-storage
lot at “1017” and 1019 Bigley Avenue, and to make improvements to
a home located at 1021 Bigley Avenue in Charleston, West Virginia
(the “dry-storage lot project”).

16. He solicited investments, in part, by posting videos on
his social media accounts, where he also regularly misrepresented
himself as a successful, wealthy businessman.

17. From approximately July 5, 2022, to July 20, 2022,
defendant THEODORE MILLER, aided and abetted by individuals known
and unknown to the Grand Jury, fraudulently induced investments
totaling $60,000 in the dry-storage lot project from two investors:

$20,000 from C.T. and $40,000 from J.C.
Case 2:24-cr-00145 Document 24 Filed 09/04/24 Page 7 of 29 PagelD #: 212

18. Defendant THEODORE MILLER provided C.T. with a project
prospectus in or around June 2022. The prospectus falsely promised,
inter alia, that:

a. Defendant THEODORE MILLER would rehabilitate a small
dwelling located at 1021 Bigley Avenue.

b. Defendant THEODORE MILLER would construct a dry-storage
lot at 1017 and 1019 Bigley Avenue, between 1007 Bigley
Avenue and 1021 Bigley Avenue. Construction of the
dry-storage lot would include clearing, leveling, and
graveling the lot and installing a fence and security
system.

c. Defendant THEODORE MILLER would treat an investment as
a construction loan to complete the project. If
defendant THEODORE MILLER could not raise the total
capital needed, $185,826.84, defendant THEODORE MILLER
would allow investors to redirect their investment.

d. Once construction was complete, defendant THEODORE
MILLER would refinance the property, and investors would
receive their initial investment back, plus an
additional return. After, investors and defendant
THEODORE MILLER would share in the rental income from
the dwelling and dry-storage lot.

19. After C.T. reviewed the prospectus, defendant THEODORE
MILLER misrepresented to C.T. that he controlled the limited
liability company that owned the dry-storage lot project property.
Defendant THEODORE MILLER made other misrepresentations to C.T. in
one-on-one communications designed to induce C.T.’s investment.

20. C.T. ultimately decided to invest $20,000 in the

dry-storage lot project. C.T. and defendant THEODORE MILLER

entered into an “Investor Agreement” and a “Partnership Agreement”

7
Case 2:24-cr-00145 Document 24 Filed 09/04/24 Page 8 of 29 PagelD #: 213

in June 2022. The Investor Agreement falsely promised that C.T.’s
funds would be used for the dry-storage lot project property only,
that C.T.’s investment was secured by the dry-storage lot project
property, and that defendant THEODORE MILLER would repay C.T.
$20,000 plus 15 percent of the refinance proceeds by August 2,
2023. The Partnership Agreement governed how rental income would
later be divided.

21. C.T. then wired $20,000 from California to defendant
THEODORE MILLER on or about July 5, 2022. The wire was deposited
into defendant THEODORE MILLER’s Bear Industries LLC Fifth Third
bank account ending in 5311 in Charleston, West Virginia.

22. C.T.’s wire was sent in reliance on defendant THEODORE
MILLER’s false promises and misrepresentations in the prospectus,
the Investor Agreement, during the phone call, in one-on-one
communications, in the Partnership Agreement, and on social media.

23. Defendant THEODORE MILLER provided J.C. with the same
project prospectus between June and July of 2022.

24. Defendant THEODORE MILLER provided J.C. with additional
investment materials related to the dry-storage lot project in
July 2022. The additional materials misrepresented, inter alia,
that investor money would be used as a down payment on a

construction loan.
Case 2:24-cr-00145 Document 24 Filed 09/04/24 Page 9 of 29 PagelD #: 214

25. J.C. decided to invest $40,000 in the project. He wired
$20,000 from Florida to defendant THEODORE MILLER on or about July
19, 2022. He wired another $20,000 from Florida to defendant
THEODORE MILLER on or about July 20, 2022. The wires were deposited
into defendant THEODORE MILLER’s Bear Industries LLC Fifth Third
bank account ending in 5311 in Charleston, West Virginia.

26. J.C’s wires were sent in reliance on defendant THEODORE
MILLER’s false promises and misrepresentations in the prospectus,
the additional materials, and on social media.

27. Upon receiving the investments, defendant THEODORE
MILLER did not do as he had promised. Defendant THEODORE MILLER
did not rehabilitate the home at 1021 Bigley Avenue; construct a
dry-storage lot; give C.T. or J.C. an opportunity to redirect their
investment when he did not raise the total capital requirement;
refinance the property; or pay investors.

28. Additionally, at the time of the investments, Defendant
THEODORE MILLER was not in a strong financial position.

29. Defendant THEODORE MILLER also never owned the
dry-storage lot project property, as represented. Therefore, C.T.
could never have had a valid security interest therein. Nor could
defendant THEODORE MILLER have ever owned “1017” Bigley Avenue, as

it was not a valid address.
Case 2:24-cr-00145 Document 24 Filed 09/04/24 Page 10 of 29 PagelD #: 215

30. Critically, defendant THEODORE MILLER did not use the
entirety of the investors’ funds for the dry-storage lot project.
Nor did he use the investments as a down payment on a construction
loan. Instead, defendant THEODORE MILLER put most of the funds to
his own and D.D.’s benefit, directing the money toward personal
expenses, private investments, and other business expenses.

31. In furtherance of the scheme, defendant THEODORE MILLER
sent J.C. and C.T. lulling communications. For example, in March
2023, knowing full-well that he had not completed the dry-storage
lot project, defendant THEODORE MILLER told J.C. that J.C. would
receive his first project disbursement at the end of the next month
and to expect that his disbursements would increase “as the site
fills up.” J.C. never received a disbursement.

32. In furtherance of the scheme, defendant THEODORE MILLER
ceased all contact with C.T. and J.C. after they began inquiring
further about the dry-storage lot project.

The Duplex Projects: Victims J.C. & B.W.

33. In or around Spring of 2022, and while defendant THEODORE
MILLER was promoting the dry-storage lot project, defendant
THEODORE MILLER began soliciting investments for the development

of duplexes located at 915 and 917 Bigley Avenue, Charleston,

10
Case 2:24-cr-00145 Document 24 Filed 09/04/24 Page 11 of 29 PagelD #: 216

Kanawha County, West Virginia, the (“915 Bigley duplex project”
and the “9177 Bigley duplex project”).

34. He solicited investments, in part, by posting videos on
his social media accounts, where he also regularly mispresented
himself as a successful, wealthy businessman.

35. From approximately July 14, 2022, to September 8, 2022,
defendant THEODORE MILLER fraudulently induced investments
totaling $30,000 in the duplex projects from two investors: $20,000
from J.C. for the 915 Bigley duplex project and $10,000 from B.W
for the 917 Bigley duplex project.

36. In June 2022, defendant THEODORE MILLER provided
investment materials regarding the 915 Bigley duplex project to
J.C, The materials included, inter alia, the following
misrepresentations, and false promises and information:

a. Defendant THEODORE MILLER would redevelop the
single-family residence located at 915 Bigley Avenue
into a fully remodeled duplex.

b. Defendant THEODORE MILLER would use the investment funds
for a down payment on a construction loan.

c. Construction of the duplex would involve installing
modern kitchens, hardwood flooring, modern bathrooms,
and brushed nickel lighting.

d. After construction was complete, defendant THEODORE
MILLER would rent the duplex units and refinance the
property. Upon refinance, the investors’ funds would be
returned plus a portion of the increased equity.

11
Case 2:24-cr-00145 Document 24 Filed 09/04/24 Page 12 of 29 PagelD #: 217

e. The investment was “safe and secure” because the
investment would be personally guaranteed by defendant
THEODORE MILLER and secured by the duplex property.

37. Defendant THEODORE MILLER also provided J.C. with a
property report for 915 Bigley Avenue that included projections
for the project and technical specifications for the property.

38. Between June and July of 2022, defendant THEODORE MILLER
made numerous misrepresentations to J.C. during one-on-one
communications designed to induce J.C.’s investment.

39. J.C. decided to invest $20,000 in the 915 Bigley duplex
project. On July 14, 2022, J9.C. and defendant THEODORE MILLER
entered into an “Investor Agreement” and a “Partnership
Agreement.” The Investor Agreement misrepresented that J.C.’s
investment was secured by 915 Bigley Avenue, and falsely promised
that defendant THEODORE MILLER would repay J.C. $20,000 plus
additional money from the refinance by July 24, 2024. The
Partnership Agreement governed how rental income would later be
divided.

40. J.C. wired $20,000 from Florida to defendant THEODORE
MILLER on or about July 14, 2022. The wire was deposited into
defendant THEODORE MILLER’s Bear Industries LLC Fifth Third bank

account ending in 5311 in Charleston, West Virginia.

12
Case 2:24-cr-00145 Document 24 _ Filed 09/04/24 Page 13 of 29 PagelD #: 218

41. J.C’s wire was sent in reliance on defendant THEODORE
MILLER’s false promises and misrepresentations contained in the
investment materials, their one-on-one communications, the
Investor Agreement, the Partnership Agreement, and on social
media.

42. In or around September 2022, defendant THEODORE MILLER
provided investment information regarding the 917 Bigley duplex
project to B.W. The information included, inter alia, the following
misrepresentations and false promises and information:

a. Defendant THEODORE MILLER would use the investment to
redevelop the single~family residence located at 917
Bigley Avenue into a fully remodeled duplex;

b. Construction of the duplex would involve ai total
remodel;

c. After construction was complete, defendant THEODORE
MILLER would rent the duplex units and refinance the
property. Investors would receive quarterly
distributions and upon refinance, the investors’ funds
would be returned plus a portion of the increased equity;

d. The investment was “safe” because the investment would
be personally guaranteed by defendant THEODORE MILLER
and secured by the duplex property, a tangible asset;
and

e. Defendant THEODORE MILLER owned a “large amount” of
rental property near 917 Bigley Avenue.

43. B.W. decided to invest $10,000 in the 917 Bigley duplex
project. On September 7, 2022, B.W. and defendant THEODORE MILLER

entered into an “Investor Agreement” and a “Partnership

13
Case 2:24-cr-00145 Document 24 _ Filed 09/04/24 Page 14 of 29 PagelD #: 219

Agreement.” The Investor Agreement falsely promised that B.W.’s
funds would be used for the 917 Bigley Avenue duplex only, that
B.W.’s investment was secured by 917 Bigley Avenue, and that
defendant THEODORE MILLER would repay B.W. $10,000 plus additional
money from the refinance by September 7, 2024. The Partnership
Agreement governed how rental income would later be divided.

44, B.W. wired $10,000 from Texas to defendant THEODORE
MILLER on or about September 8, 2022. The wire was deposited into
defendant THEODORE MILLER’s Bear Industries LLC Fifth Third bank
account ending in 5311 in Charleston, West Virginia.

45. B.W.’s wire was sent in reliance on defendant THEODORE
MILLER’s false promises and misrepresentations in the investment
information, the Investor Agreement, the Partnership Agreement,
and on social media.

46. At the time of the investments, Defendant THEODORE
MILLER was not in a strong financial position.

47. Additionally, defendant THEODORE MILLER did not do as he
had promised. He did not remodel the homes at 915 and 917 Bigley
Avenue, and he never refinanced the properties or paid investors.

48. Further, defendant THEODORE MILLER never owned 915 or
917 Bigley Avenue, as represented. Therefore, B.W. could never

have had a valid security interest therein. Defendant THEODORE

14
Case 2:24-cr-00145 Document 24 Filed 09/04/24 Page 15 of 29 PagelD #: 220

MILLER also never owned a “large amount” of rental property near
915 or 917 Bigley Avenue.

49, Defendant THEODORE MILLER did not use the entirety of
the investors’ funds for the duplex projects. Nor did he use the
investments as a down payment on a construction loan. Instead,
defendant THEODORE MILLER put most of the funds toward his own and
D.D.’s benefit, directing the money to personal expenses, private
investments, and other business expenses.

50. In furtherance of the scheme, defendant THEODORE MILLER
sent J.C. lulling communications. For example, in December 2022,
defendant THEODORE MILLER, knowing full-well that he had not
remodeled 915 Bigley Avenue, informed J.C. that the “interior
remodel [was] completed.”

51. In furtherance of the scheme, defendant THEODORE MILLER
ceased all contact with J.C. and B.W. after they began inquiring
further about the duplex projects.

Counts One Through Five

52. Paragraphs 1 through 51 are incorporated by reference
herein.
53. On or about the following dates at or near Charleston,

Kanawha County, West Virginia, in the Southern District of West

Virginia, and elsewhere, defendant THEODORE MILLER, aided and

15
Case 2:24-cr-00145 Document 24 _ Filed 09/04/24 Page 16 of 29 PagelD #: 221

abetted by individuals both known and unknown to the Grand Jury,

having devised and intending to devise, and participating in a

scheme and artifice to defraud and to obtain money and property by

means of materially false and fraudulent pretenses,

-representations, and promises, and for the purpose of executing

such scheme and artifice, did knowingly transmit and cause to be

transmitted by means of wire and radio communications in interstate

commerce the writings, signs, signals, pictures, and sounds

described below for each count, each transmission constituting a

separate count:

COUNT DATE (on INTERSTATE FROM TO
or about) | TRANSMISSION
1 July 5, $20,000 electronic California Charleston,
2022 funds transfer West
(“EFT”) from C.T. to Virginia
Fifth Third account
ending in 5311
2 July 19, $20,000 EFT from Florida Charleston,
2022 J.C. to Fifth Third West
account ending in Virginia
5311
3 July 20, $20,000 EFT from Florida Charleston,
2022 J.C. to Fifth Third West
account ending in Virginia
5311
4 July 14, $20,000 EFT from Florida Charleston,
2022 J.C. to Fifth Third West
account ending in Virginia
5311
5 September | $10,000 EFT from Texas Charleston,
8, 2022 B.W. to Fifth Third West
account ending in Virginia
5311

16

Case 2:24-cr-00145 Document 24 Filed 09/04/24 Page 17 of 29 PagelD #: 222

All in violation of Title 18, United States Code, Section

1343.

The Bear Lute Scheme

54. Paragraphs 1 through 9 are incorporated by reference
herein.

55. Beginning in or around October 2021, at or near
Charleston, Kanawha County, West Virginia, within the Southern
District of West Virginia, and elsewhere, defendant THEODORE
MILLER, aided and abetted by individuals both known and unknown
to the Grand Jury, knowingly participated in a scheme to defraud
real estate project investors using an investment program known as
Bear Lute, in violation of 18 U.S.C. § 1343.

56. The purpose of the scheme was for defendant THEODORE
MILLER to obtain one-time and monthly recurring cash investments
through Bear Lute, on false information and promises, material
misrepresentations, and omissions, and to convert those
investments to his and D.D.’s benefit.

Manner and Means of the Bear Lute Scheme

57. It was part of the scheme to defraud that defendant

THEODORE MILLER would and did:

a. Misrepresent himself on social media as a wealthy and
successful real estate investor to gain the trust of
potential investors;

17
Case 2:24-cr-00145 Document 24 _ Filed 09/04/24 Page 18 of 29 PagelD #: 223

58.

. Target victims by advertising Bear Lute on his social

media platforms;

. Create a website, bearlute.com, for the purpose of

inducing investments;

- Post false and misleading information on bearlute.com

such as fraudulent “satisfied investor reviews”;

. Mislead investors about how their funds would be spent

and the returns they would enjoy;

. Mislead investors about the security of their

investments, by agreeing to secure the investors’
interest with property he did not, in fact, own;

. Falsely promise to use the entirety of investor funds

toward real estate transactions;

. Communicate with investors under an alias, “Nancy

Smith; ”

L. Fail to disclose material information, such as his true

personal financial standing, credit, and that he had
received a cease-and-desist order from the West Virginia
Securities Commission;

}. Falsely promise that investor funds would be returned

within sixty days of a withdraw request;

. Use investor funds for his and D.D.’s personal benefit;
. Fail to repay investors as required; and

. Refuse to communicate with investors after demands for

information and payment.

Specifically, in furtherance of the fraud, defendant

THBKODORE MILLER, aided and abetted by individuals both known and

unknown to the Grand Jury, carried out the scheme in the following

manner:

18
Case 2:24-cr-00145 Document 24 _ Filed 09/04/24 Page 19 of 29 PagelD #: 224

Bear Lute: Victims E.S. & B.W.

59. Between October 2021 and May 2022, defendant THEODORE
MILLER conceived the idea for Bear Lute and created a website for
Bear Lute, bearlute.com.

60. In or around May 2022, defendant THEODORE MILLER
formally launched Bear Lute and began directing his social media
followers to invest through bearlute.com. Defendant THEODORE
MILLER advertised Bear Lute as a way for ordinary people to invest
in real estate and become wealthy and successful, like him.

61. Beginning on or about May 2022, defendant THEODORE
MILLER misrepresented to investors, through his social media
posts, his website, and one-on-one communications that Bear Lute
functioned in the following general manner:

a. Investors would sign up to make either a reoccurring or
one-time deposit in Bear Lute;

b. All investor funds would be pooled into one conglomerate
account;

c. Investor funds would be deployed for various real estate
projects;

d. Once the projects were complete, the property would be
refinanced and those funds would be added back to the
conglomerate account; and

e. [Investors would be given quarterly distributions.

62. Further, defendant THEODORE MILLER misrepresented to

investors that:

19
Case 2:24-cr-00145 Document 24 Filed 09/04/24 Page 20 of 29 PagelD #: 225

a. Bear Lute generated exceptionally high, guaranteed
returns;

b. Investors would receive a minimum of 6 percent return on

investment, but historically, that the average investor
received over 20 percent return on investment;

c. At any time, an investor could request to withdraw their
funds, and the funds would be returned within sixty days;
and

d. The investment was secured by income-producing real
estate.

63. To sign up for Bear Lute, investors signed “Investor
Agreements” that provided how much the investor would invest. The
Investor Agreements also misrepresented that defendant THEODORE
MILLER would return funds within 60 days of a request for withdraw,
that the investments were to be used for real estate transactions,
and that the investment was secured by an interest in 1007 Bigley
Avenue and personally guaranteed by defendant THEODORE MILLER.
Investors also gave defendant THEODORE MILLER and D.D. their bank
account information and authorized automated clearing house
(“ACH”) withdrawals. The Investor Agreements and ACH
authorizations were sent electronically to investors by D.D.

64. After an individual invested in Bear Lute, defendant
THEODORE MILLER and D.D. gave the investor access to an online
investor dashboard where he or she could track his or her initial
investment, make additional deposits, make withdraw requests, and

watch his or her investment “grow.”
20
Case 2:24-cr-00145 Document 24 _ Filed 09/04/24 Page 21 of 29 PagelD #: 226

65. Investors could also communicate directly via email
about their investments with defendant THEODORE MILLER, D.D., and
“Nancy Smith,” a fraudulent alias of defendant THEODORE MILLER.

66. Between on or about June 30, 2022, and on or about
February 28, 2024, D.D. used Paypal to process investors’ Bear
Lute deposits.

67. Based on defendant THEODORE MILLER’s misrepresentations
and promises about Bear Lute on social media, on bearlute.com, in
one-on-one communications, and in the Investor Agreements,
defendant THEODORE MILLER induced more than 100 individuals to
invest in Bear Lute and obtained more than $200,000 in investor
funds.

68. Specifically, on or about August 14, 2022, B.W. signed
up for Bear Lute and began making monthly investments of $2,500,
in reliance on defendant THEODORE MILLER’s misrepresentations and
promises about Bear Lute. B.W.’s deposits were deducted from his
bank account in Texas, processed by Paypal, and deposited in
defendant THEODORE MILLER’s bank account ending in 5154 in the
name of T&C Construction LLC at Fifth Third bank in Charleston,
West Virginia, on the following dates: August 15, 2022, September
15, 2022, October 13, 2022, November 20, 2022, and December 12,

2022,

21
Case 2:24-cr-00145 Document 24 Filed 09/04/24 Page 22 of 29 PagelD #: 227

69. Additionally, on or about October 12, 2022, E.S. signed
up for Bear Lute. He made a one-time investment of $5,000, in
reliance on defendant THEODORE MILLER’s representations and
promises about Bear Lute. On or about October 13, 2022, and October
14, 2022, E.S.’s investment was deducted from his bank account in
Texas via two $2,500 debits, processed by Paypal, and deposited in
defendant THEODORE MILLER’s bank account ending in 5154 in the
name of T&C Construction LLC at Fifth Third bank in Charleston,
West Virginia.

70. Nearly all of defendant THEODORE MILLER’ s
representations and promises about Bear Lute were untrue.

71. Investor funds were not pooled and deployed on real
estate projects or transactions as described. Rather, as the Bear
Lute funds were available, defendant THEODORE MILLER used the funds
to his and D.D.’s personal benefit and to the benefit of defendant
THEODORE MILLER’s businesses.

72. Defendant THEODORE MILLER did not perform any cash out
refinances on properties that would have generated returns in
excess of 6 percent for Bear Lute investors.

73. The returns and quarterly distributions investors could
view in the investor dashboard were not based on any real account

figures.

22
Case 2:24-cr-00145 Document 24 Filed 09/04/24 Page 23 of 29 PagelD #: 228

74, Defendant THEODORE MILLER did not honor withdraw
requests within 60 days. Specifically, defendant THEODORE MILLER
failed to ever return B.W.’s and E.S.’s investments after they
made withdrawal requests.

75. Defendant THEODORE MILLER did not own 1007 Bigley
Avenue, and therefore, he could not validly pledge it as security.

76. In furtherance of the scheme, defendant THEODORE MILLER
communicated with investors under a fake alias, “Nancy Smith.”

77. %In furtherance of the scheme, defendant THEODORE MILLER
failed to disclose to investors that the West Virginia Securities
Commission ordered him to cease and desist operating Bear Lute.

78. j%In furtherance of the scheme, defendant THEODORE MILLER
ceased all communications with investors who made requests for
withdrawals.

Counts Six Through Twelve

79. Paragraphs 1 through 9 and 54 through 78 are incorporated
by reference herein.

80. On or about the following dates at or near Charleston,
Kanawha County, West Virginia, in the Southern District of West
Virginia, and elsewhere, defendant THEODORE MILLER, aided and
abetted by individuals both known and unknown to the Grand Jury,

having devised and intending to devise, and participating in a

23
Case 2:24-cr-00145 Document 24 _ Filed 09/04/24 Page 24 of 29 PagelD #: 229

scheme and artifice to defraud and to obtain money and property by

means of materially false and fraudulent pretenses,

representations, and promises, and for the purpose of executing
such scheme and artifice, did knowingly transmit and cause to be
transmitted by means of wire and radio communications in interstate
commerce the writings, signs, signals, pictures, and sounds

described below for each count, each transmission constituting a

separate count:

COUNT DATE (on or INTERSTATE FROM To
about) TRANSMISSION
6 October 13, $2,500 Texas Charleston,
2022 transfer from West
E.S. using Virginia
Paypal
7 October 14, $2,500 Texas Charleston,
2022 transfer from West
E.S. using Virginia
Paypal
8 August 15, $2,500 Texas Charleston,
2022 transfer from West
B.W. using Virginia
Paypal
9 September 15, | $2,500 Texas Charleston,
2022 transfer from West
B.W. using Virginia
Paypal
10 October 13, $2,500 Texas Charleston,
2022 transfer from West
B.W. using Virginia
Paypal
11 November 20, $2,500 Texas Charleston,
2022 transfer from West
B.W. using Virginia
Paypal

24

Case 2:24-cr-00145 Document 24 Filed 09/04/24 Page 25 of 29 PagelD #: 230

12 December 12, $2,500 Texas Charleston,
2022 transfer from West
B.W. using Virginia
Paypal

All in violation of Title 18, United States Code, Section
1343.

Count Thirteen

81. Paragraphs 1 through 80 are incorporated by reference
herein.

82. At all relevant times, Fifth Third had a branch located
in Charleston, Kanawha County, West Virginia.

83. On or about July 20, 2022, at or near Charleston, Kanawha
County, West Virginia, within the Southern District of West
Virginia, and elsewhere, defendant THEODORE MILLER did knowingly
engage in and cause another to engage in a monetary transaction in
criminally derived property of a value greater than $10,000, that
is, an EFT of $20,000 from Bear Industries LLC’s account at Fifth
Third ending in 5311 to T&C Construction LLC’s account at Fifth
Third ending in 5154, and which in fact was derived from specified
unlawful activities, that is, wire fraud in violation of 18 U.S.C.
§ 1343.

84. While engaging in and causing others to engage in the

monetary transaction, defendant THEODORE MILLER knew that the

25
Case 2:24-cr-00145 Document 24 _ Filed 09/04/24 Page 26 of 29 PagelD #: 231

property involved in the monetary transaction was criminally
derived.

In violation of Title 18, United States Code, Section 1957
and 2,

Count Fourteen

85. On August 11, 2024, at or near Charleston, Kanawha
County, West Virginia, within the Southern District of West
Virginia, and elsewhere, defendant THEODORE MILLER did knowingly
corruptly persuade and attempt to corruptly persuade another
person known to the Grand Jury with the intent to cause and induce
that person to alter, destroy, mutilate, and conceal an object,
that is, a backpack and its contents, with the intent to impair
the object’s integrity and availability for use in an official
proceeding, that is, a proceeding before a judge or court of the
United States.

In violation of Title 18, United States Code, Section

1512 (b) (2) (B).

26
Case 2:24-cr-00145 Document 24 Filed 09/04/24 Page 27 of 29 PagelD #: 232

Count Fifteen

86. On or about August 11, 2024, at or near Charleston,
Kanawha County, West Virginia, within the Southern District of
West Virginia, and elsewhere, defendant THEODORE MILLER did
knowingly corruptly persuade and attempt to corruptly persuade
another person known to the Grand Jury with the intent to cause
and induce that person to alter, destroy, mutilate, and conceal an
object, that is, a cell phone, with the intent to impair the
object’s integrity and availability for use in an official
proceeding, that is, a proceeding before a judge or court of the
United States.

In violation of Title 18, United States Code, Section

1512 (b) (2) (B).

27
Case 2:24-cr-00145 Document 24 Filed 09/04/24 Page 28 of 29 PagelD #: 233

Notice of Forfeiture

The allegations contained in paragraphs 1 through 86 of this
Indictment are hereby realleged and incorporated by reference for
the purpose of alleging forfeitures pursuant to 18 U.S.C. §§
981(a) (1) (C) and 982(a) (1), and 28 U.S.C. § 2461 (c).

Upon conviction of the offense(s) in violation of 18 U.S.C.
§ 1343 of this indictment, the defendant THEODORE MILLER shall
forfeit to the United States of America, pursuant to 18 U.S.c.
§ 981(a) (1) (C), 28 U.S.C. § 2461(c) and Rule 32.2 of the Federal
Rules of Criminal Procedure, any property, real or personal, which
constitutes or is derived from proceeds traceable to the
offense(s).

Pursuant to 18 U.S.C. § 982(a) (1), 28 U.S.C. § 2461 (c) and
Rule 32.2 of the Rules of Criminal Procedure, upon conviction of
an offense in violation of 18 U.S.C. § 1957, the defendant,
THEODORE MILLER shall forfeit to the United States of America any
property, real or personal, involved in such offense, and any
property traceable to such property.

Pursuant to 18 U.S.C. § 981(a) (1) (C), 28 U.S.C. § 2461 (c) and
Rule 32.2 of the Rules of Criminal Procedure, upon a conviction of
an offense in violation of 18 U.S.C. § 1512 (b) (2) (B), the defendant

THEODORE MILLER shall forfeit to the United States of America any

28
Case 2:24-cr-00145 Document 24 _ Filed 09/04/24 Page 29 of 29 PagelD #: 234

property, real or personal, involved in such offense, and any
property traceable to such property.

The property to be forfeited includes, but is not limited to,
the following, for which the United States will seek a money
judgment in the amount of at least $290,000 in United States
currency.

If any of the property described above, as a result of any

act or omission of the defendant:

a. cannot be located upon the exercise of due
diligence;

b. has been transferred or sold to, or deposited with,
a third party;

c. has been placed beyond the jurisdiction of the
court;

d. has been substantially diminished in value; or

e. has been commingled with other property, which

cannot be divided without difficulty.

The United States of America shall be entitled to forfeiture
of substitute property pursuant to 21 U.S.C. § 853(p), as
incorporated by 28 U.S.C. § 2461(c).

All pursuant to 18 U.S.C. §§ 981(a)(1)(C) and 982(a) (1), and
28 U.S.C. § 2461 (c).

WILLIAM S. THOMPSON
United States Attorney

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Assistant United States Attorney

29
